            Case 18-57863-pmb                             Doc 28      Filed 09/21/18 Entered 09/21/18 11:43:31                       Desc Main
                                                                     Document      Page 1 of 11
 Fill in this information to identify your case:
 Debtor 1           Quintel Kenyadda Hatcher
                         First Name                 Middle Name            Last Name
 Debtor 2
 (Spouse, if filing)     First Name                 Middle Name            Last Name
                                                                                                                      Check if this is an amended plan, and
 United States Bankruptcy Court for the NORTHERN DISTRICT OF GEORGIA                                                  list below the sections of the plan that
                                                                                                                      have been changed. Amendments to
                                                                                                                      sections not listed below will be
                                                                                                                      ineffective even if set out later in this
 Case number:            18-57863-PMB                                                                                 amended plan.
 (If known)                                                                                                           1.3; 8.1; 4.3


Chapter 13 Plan
NOTE:                      The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in Chapter 13
                           cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order Requiring Local Form for
                           Chapter 13 Plans and Establishing Related Procedures, General Order No. 21-2017, available in the Clerk’s Office and on
                           the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan, “Chapter 13 General Order” means General
                           Order No. 21-2017 as it may from time to time be amended or superseded.

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and
                           judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           Check if applicable.

                               The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in §
                               4.4.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015.

                           To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is deemed
                           allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                           The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                           controlling, unless the Bankruptcy Court orders otherwise.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                           not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                           checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.

 § 1.1        A limit on the amount of a secured claim, that may result in a partial payment or no               Included                   Not Included
              payment at all to the secured creditor, set out in § 3.2
 § 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in § 3.4
 § 1.3        Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1         Regular Payments to the trustee; applicable commitment period.

U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                           Page 1 of 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 18-57863-pmb                             Doc 28      Filed 09/21/18 Entered 09/21/18 11:43:31                        Desc Main
                                                                     Document      Page 2 of 11
 Debtor                Quintel Kenyadda Hatcher                                                   Case number


             The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

                Check one:                    36 months                60 months

             Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

The debtor(s) will pay $380.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless the
Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
commitment period, no further Regular Payments will be made.

Check if applicable.
  The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
   Insert additional lines as needed for more changes.):


§ 2.2        Regular Payments; method of payment.

             Regular Payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
                      trustee the amount that should have been deducted.

                          Debtor(s) will make payments directly to the trustee.

                          Other (specify method of payment):


§ 2.3        Income tax refunds.

             Check one.

                          Debtor(s) will retain any income tax refunds received during the pendency of the case.

                          Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days
                          of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
                          commitment period for tax years 2018-2021 , the amount by which the total of all of the income tax refunds received for
                          each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor's spouse is not a debtor in
                          this case, "tax refunds received" means those attributable to the debtor.

                          Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4        Additional Payments.

             Check one.

                          None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5        [Intentionally omitted.]

§ 2.6        Disbursement of funds by trustee to holders of allowed claims.

             (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of
                 allowed claims as set forth in §§ 3.2 and 3.3.

             (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee’s statutory fee, the trustee will disburse
                 Regular Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed
                 claims as follows:



U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                            Page 2 of 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-57863-pmb                             Doc 28      Filed 09/21/18 Entered 09/21/18 11:43:31                          Desc Main
                                                                     Document      Page 3 of 11
 Debtor                Quintel Kenyadda Hatcher                                                     Case number

                           (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will
                           disburse all available funds from Regular Payments in the following order:

                                (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in §
                                3.2, § 3.3, and orders of the Bankruptcy Court;

                                (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth
                                in § 5.2; and on executory contracts and unexpired leases as set forth in § 6.1; and

                                (D) To pay claims in the order set forth in § 2.6(b)(3).

                           (2) Second and subsequent disbursement after confirmation of Regular Payments. In the second disbursement after
                           confirmation, and each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below.
                           All available Regular Payments will be distributed to the claims in each paragraph until such claims are paid in full.

                                (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in
                                §§ 3.1, 3.2, 3.3, and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic
                                support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
                                executory contracts and unexpired leases as set forth in § 6.1;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs; and

                                (C) To pay claims in the order set forth in § 2.6(b)(3).

                           (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax
                           Refunds in the following order:

                                (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set
                                forth in § 5.2 and executory contracts and unexpired leases as set forth in § 6.1;

                                (D) To pay other Allowed Secured Claims as set forth in § 3.6;

                                (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support
                                obligations; and

                                (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay
                                nonpriority unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the
                                total amounts to be disbursed during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds
                                available for disbursement on these claims will be allocated pro rata to each class, and the funds available for disbursement
                                for each class will be paid pro rata to the creditors in the class.

                           (4) Unless the debtor(s) timely advise(s) the trustee in writing, the trustee may treat and disburse any payments received from the
                           debtor(s) as Regular Payments.

 Part 3:      Treatment of Secured Claims

§ 3.1        Maintenance of payments and cure of default, if any.

             Check one.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

§ 3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                              Page 3 of 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            Case 18-57863-pmb                             Doc 28       Filed 09/21/18 Entered 09/21/18 11:43:31                           Desc Main
                                                                      Document      Page 4 of 11
 Debtor                Quintel Kenyadda Hatcher                                                     Case number



                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3        Secured claims excluded from 11 U.S.C. § 506.

             Check one.

                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                          acquired for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                          trustee.

                          The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the
                          creditor in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

                          The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier
                          of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt
                          under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Name of Creditor Collateral                                  Purchase date   Estimated amount    Interest rate    Monthly                Monthly
                                                                              of claim                             preconfirmation        postconfirmation
                                                                                                                   adequate               payment to creditor
                                                                                                                   protection             by trustee
                                                                                                                   payment
                                                              Opened 11/17                                                                  $150.00 increasing
                              2013 Bmw 328i                   Last Active                                                                         to$353.00 in
 CARVANA                      52000 miles                     2/23/18         $15,352.00                   5.75%                $150.00       September 2019


§ 3.4        Lien avoidance.

Check one.

                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5        Surrender of collateral.

             Check one.

                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                          The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                          request(s) that, upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that
                          the stay under § 1301 be terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed
                          unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below. No payments as to the collateral
                          will be made, and all secured claims based on the collateral will not otherwise be treated by the plan.

 Name of Creditor                                                             Collateral
 Bridgecrest                                                                  2007 Jeep Cherokee 121000 miles


 § 3.6       Other Allowed Secured Claims.


U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                                Page 4 of 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 18-57863-pmb                             Doc 28      Filed 09/21/18 Entered 09/21/18 11:43:31                             Desc Main
                                                                     Document      Page 5 of 11
 Debtor                Quintel Kenyadda Hatcher                                                   Case number

           A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the
             rate of 5.75 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in
             interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification
             of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor’s lien pursuant to 11
             U.S.C. § 522(f), if applicable.

           If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured
              claim will be treated as an unsecured claim under Part 5 of this plan.

           The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

           (a) payment of the underlying debt determined under nonbankruptcy law, or

           (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
             § 1328, at which time the lien will terminate and be released by the creditor.

 Part 4:      Treatment of Fees and Priority Claims

§ 4.1        General.

             Trustee’s fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
             regardless of whether it is listed in § 4.4.

§ 4.2        Trustee’s fees.

             Trustee’s fees are governed by statute and may change during the course of the case.

§ 4.3        Attorney’s fees.

             (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
             $ 4,810.00 ($4,500.00 attorney fees plus $310.00 filing fee) . The allowance and payment of the fees, expenses and costs of the
             attorney for the debtor(s) are governed by General Order 22-2017 (“Chapter 13 Attorney’s Fees Order”), as it may be amended.

             (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent
             set forth in the Chapter 13 Attorney’s Fees Order.

             (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in §
             4.3(a) above upon application of the attorney in compliance with the Chapter 13 Attorney’s Fees Order and after notice and a hearing.

             (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in
             § 4.3(a).

             (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 203.00 per month from Regular
             Payments and (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.

             (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
             debtor(s) the amount of $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits. If the
             attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney’s Fees Order, the trustee will deliver,
             from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

             (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
             $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits, will be allowed to the extent set
             forth in the Chapter 13 Attorney’s Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum
             amount within 10 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of
             the Chapter 13 Attorney’s Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

             (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
             debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

             (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
             allowed fees, expenses, and costs that are unpaid.

§ 4.4        Priority claims other than attorney’s fees.

U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                                 Page 5 of 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 18-57863-pmb                             Doc 28      Filed 09/21/18 Entered 09/21/18 11:43:31                       Desc Main
                                                                     Document      Page 6 of 11
 Debtor                Quintel Kenyadda Hatcher                                                  Case number


                          None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

             (a) Check one.


                          The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or
                          reproduced.

             (b) The debtor(s) has/have priority claims other than attorney’s fees and domestic support obligations as set forth below:

  Name of creditor                                                                                     Estimated amount of claim
  Georgia Department of Revenue                                                                        $0.00
  Internal Revenue Service                                                                             $300.00


 Part 5:      Treatment of Nonpriority Unsecured Claims

§ 5.1        Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims
             will receive:

             Check one.

                  A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

                A pro rata portion of the larger of (1) the sum of $         and (2) the funds remaining after disbursements have been made to all other
             creditors provided for in this plan.

                The larger of (1)      % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have
             been made to all other creditors provided for in this plan.

                  100% of the total amount of these claims.

             Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
             filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee’s fees, costs, and expenses of the attorney
             for the debtor(s), and other priority claims under Part 4.

§ 5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3        Other separately classified nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

§ 6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                           Page 6 of 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 18-57863-pmb                             Doc 28      Filed 09/21/18 Entered 09/21/18 11:43:31              Desc Main
                                                                     Document      Page 7 of 11
 Debtor                Quintel Kenyadda Hatcher                                               Case number

 Part 7:      Vesting of Property of the Estate

§ 7.1        Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in
             the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon
             the completion of payments by the debtor(s).

 Part 8:      Nonstandard Plan Provisions

§ 8.1        Check "None" or List Nonstandard Plan Provisions.


                          None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signatures:

§ 9.1        Signatures of Debtor(s) and Attorney for Debtor(s).

             The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.

 X      /s/ Quintel Kenyadda Hatcher                                               X
        Quintel Kenyadda Hatcher                                                        Signature of debtor 2 executed on
        Signature of debtor 1 executed on                  September 21,
                                                           2018


 X      /s/ Howard Slomka                                                      Date: September 21, 2018
        Howard Slomka 652875 GA
        Signature of attorney for debtor(s)

        Slipakoff & Slomka PC                                                       Overlook III, 2859 Paces Ferry Rd, SE
                                                                                    Suite 1700
                                                                                    Atlanta, GA 30339

By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (April 2018), Version 1.3                                                  Page 7 of 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
Case 18-57863-pmb          Doc 28    Filed 09/21/18 Entered 09/21/18 11:43:31           Desc Main
                                    Document      Page 8 of 11


                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

   IN RE:

   QUINTEL KENYADDA HATCHER                     :      CHAPTER 13
                                                :
                  Debtor.                       :      CASE NO.: 18-57863-PMB
                                                :

                                CERTIFICATE OF SERVICE

   This is to certify that I have this day served a copy of the within and foregoing Amended
   Chapter 13 Plan in the above styled case by depositing same in the United States mail
   with the adequate postage affixed thereto to insure delivery addressed as follows:
   Melissa J. Davey (Served via ECF mail)
   Chapter 13 Trustee
   260 Peachtree Street, N.E.
   Suite 200
   Atlanta, GA 30303

   Quintel Kenyadda Hatcher
   1100 Paces Lane Apt 304
   Woodstock, GA 30189

   SEE ATTACHED FOR ADDITIONAL CREDITORS

   Date: September 21, 2018

   _____/s/_____________
   Howard Slomka, Esq.
   Georgia Bar # 652875
   Slipakoff & Slomka, P.C.
   Attorney for Debtor
   2859 Paces Ferry Road SE
   Suite 1700
   Atlanta, GA 30339
   Tel. (404) 800-4001
Label Matrix forCase
                  local 18-57863-pmb
                        noticing       Doc 28
                                           AT&T Filed 09/21/18 Entered 09/21/18 11:43:31
                                                                                (p)AMERICOLLECTDesc
                                                                                                INC Main
113E-1                                         Document
                                           PO Box 15503      Page 9 of 11       PO BOX 2080
Case 18-57863-pmb                           Atlanta, GA 30333-0503                     MANITOWOC WI 54221-2080
Northern District of Georgia
Atlanta
Fri Sep 21 11:39:17 EDT 2018
Aplus Financial Services                    Austin Cochran                             Bank of Amerrica
1352 Lakewood Ave SE                        1100 Paces Lane                            5701 Horatio Street
Atlanta, GA 30315-2336                      Woodstock, GA 30189-4833                   Utica, NY 13502-1024



Bridgecrest                                 (p)CARTER YOUNG INC                        Cartersville Medical Center
Po Box 29018                                882 N MAIN STREET                          Resurgent Capital Services
Phoenix, AZ 85038-9018                      SUITE 120                                  PO Box 1927
                                            CONYERS GA 30012-4442                      Greenville, SC 29602-1927


Carvana, LLC                                Charter Communications                     Chase Bank
PO BOX 29018                                PO Box 9001919                             PO Box 15298
PHOENIX, AZ 85038-9018                      Louisville, KY 40290-1919                  Wilmington, DE 19850-5298



Convergent Outsourcing                      Melissa J. Davey                           Enhanced Recovery Co L
800 Sw 39th St                              Melissa J. Davey, Standing Ch 13 Trustee   8014 Bayberry Rd
Renton, WA 98057-4975                       Suite 200                                  Jacksonville, FL 32256-7412
                                            260 Peachtree Street, NW
                                            Atlanta, GA 30303-1236

(p)GEORGIA DEPARTMENT OF REVENUE            Georgia Power                              Go Financial
COMPLIANCE DIVISION                         407 Cedar Creek Road                       7465 E Hampton Ave
ARCS BANKRUPTCY                             Winder, GA 30680-3411                      Mesa, AZ 85209-3328
1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202

Grady Memorial Hospital                     Granite State Management and Resources     Gwinnett Medical Center
c/o Nationwide Recovery Serv                o/b/o The U.S. Department Of Education     Post Office Box 116228
545 W Inman St                              PO Box 3420                                Atlanta, GA 30368-6228
Cleveland, TN 37311-1768                    Concord NH 03302-3420


Quintel Kenyadda Hatcher                    Internal Revenue Service                   (p)JEFFERSON CAPITAL SYSTEMS LLC
34 Cathedral Heights SW                     PO Box 7346                                PO BOX 7999
Euharlee, GA 30120-6094                     Philadelphia, PA 19101-7346                SAINT CLOUD MN 56302-7999



Richard B. Maner                            Marriott Employees Fcu                     Marriott Employees Federal Credit Union
Richard B. Maner, P.C.                      10400 Fernwood Rd Ste Ll                   P.O. Box 6006
5775 Glenridge Drive                        Bethesda, MD 20817-1102                    Bethesda, MD 20827-6006
Building D, Suite 100
Atlanta, GA 30328-5390

Medical Data Systems I                      Medical Data Systems I                     Medicredit, Inc
128 W Center Ave Fl 2                       755 W Nasa Blvd                            Po Box 1629
Sebring, FL 33870-3103                      Melbourne, FL 32901-1815                   Maryland Heights, MO 63043-0629
Mid Fl Fince Case 18-57863-pmb               Doc 28    Filed 09/21/18 Entered 09/21/18 11:43:31
                                                 Netcollction                          Nhhelc/gsm&r Desc Main
1200 W Memorial Blvd                                 Document
                                                 2774 N Cobb Parkway Page 10 of 11     Po Box 3420
Lakeland, FL 33815-1227                              Kennesaw, GA 30152-3469                              Concord, NH 03302-3420



Northside Cherokee                                   Optimum Outcomes Inc                                 Piedmont Hospital
2810 Walker Road                                     2651 Warrenville Rd Ste                              PO Box 102570
Chattanooga, TN 37421-1082                           Downers Grove, IL 60515-5544                         Atlanta, GA 30368-2570



Quantum3 Group LLC as agent for                      ROSWELL RADIOLOGY ASSOCIATES                         Rockdale Medical Center
CF Medical LLC                                       CARTER-YOUNG, INC                                    PO Box 102291
PO Box 788                                           882 N MAIN ST, STE 120                               Atlanta, GA 30368-2291
Kirkland, WA 98083-0788                              CONYERS, GA 30012-4442


Howard P. Slomka                                     (p)SPRINT NEXTEL CORRESPONDENCE                      (p)T MOBILE
Slipakoff & Slomka, PC                               ATTN BANKRUPTCY DEPT                                 C O AMERICAN INFOSOURCE LP
Overlook III - Suite 1700                            PO BOX 7949                                          4515 N SANTA FE AVE
2859 Paces Ferry Rd, SE                              OVERLAND PARK KS 66207-0949                          OKLAHOMA CITY OK 73118-7901
Atlanta, GA 30339-6213

Transworld Systems Inc                               U. S. Attorney                                       Verizon
500 Virginia Dr Ste 514                              600 Richard B. Russell Bldg.                         500 Technology Drive
Fort Washington, PA 19034-2707                       75 Ted Turner Drive, SW                              Suite 300
                                                     Atlanta GA 30303-3315                                Saint Charles, MO 63304-2225


WElls Fargo                                          Wellstar Kennestone Hospital                         Woodforest Bank
800 Walnut Street                                    PO Box 406161                                        Post Office Box 7889
Des Moines, IA 50309-3891                            Atlanta, GA 30384-6161                               Spring, TX 77387-7889




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Americollect Inc                                     Carter-young Inc                                     Georgia Department of Revenue
Po Box 1566                                          Po Box 82269                                         Bankruptcy Division
Manitowoc, WI 54221                                  Conyers, GA 30013                                    Post Office Box 161108
                                                                                                          Atlanta, GA 30321


Jefferson Capital Syst                               (d)Jefferson Capital Systems LLC                     (d)Jefferson Capital Systems LLC
16 Mcleland Rd                                       PO Box 7999                                          Po Box 7999
Saint Cloud, MN 56303                                St Cloud, MN 56302-9617                              Saint Cloud Mn 56302-9617



Sprint                                               TMobile
PO Box 4191                                          PO Box 742596
Carol Stream, IL 60197-4191                          Cincinnati, OH 45274-2596
                  Case 18-57863-pmb            Doc 28      Filed 09/21/18 Entered 09/21/18 11:43:31                       Desc Main
                                                          Document     Page 11 of 11

                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Carvana, LLC                                        End of Label Matrix
                                                       Mailable recipients    47
                                                       Bypassed recipients     1
                                                       Total                  48
